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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY




United States of America                             :    Criminal Action
                                                          2:08cr-327 (SOW)
           Plaintiff

V.
                                                          ORDER RE
Andrew Merola                                        :    BAIL CONDITIONS


           Defendant.




           The Court having considered the respective positions of                            the


parties and the United States Attorney’s office having consented

thereto and for good cause shown

           It is on this       day of January 2010

           ORDERED AND ADJUDGED as follows:

     1.    The   terns   of    Mr.      Nerola’s     pretrial          release       are   hereby


modified as follows:            Mr.    Merola may leave his residence each day

between       7:00   a.m.     and     10:00   p.m.       and    Mr.   Merola    is    no   longer


subject to GPS monitoring.

 2.       All other conditions of Mr.           Merola’s pretrial release remain

in tact.
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  3.   A copy of   this   Order   shall be   served on   Pretrial   Services


and the United States Attorneys office.




                                    Hbnorable Stanley R. Chesler
                                    United States District Court
                                    Judge


We hereby consent to the entry of this Order.



Salvatore T. Alfano
Attorney for Andrew Merola




Assistant United
States Attorney




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